The action was one to recover damages for personal injuries, and resulted in a directed verdict for the defendant.
In 1922 the plaintiff, Theodore Breck, was the owner of an automobile to which he desired to have attached a patent steering wheel called a "Lokwell wheel," manufactured by defendant. This steering wheel was installed in his car about October 1, 1922, after which he used the car until November *Page 80 
13 of that year, driving it some 1,000 or 1,200 miles. On the latter date, while he was driving his car at a moderate rate of speed around a curve in the road, the steering wheel, or a portion of it, suddenly came off the steering post, and he being unable to guide the car it left the road and ran into a tree, resulting in serious injury to plaintiff.
The defendant has its principal office and factory in the city of Toledo, and on July 7, 1922, sold 12 Lokwell steering wheels to a firm located in Akron, Ohio, and some of these wheels were sold by the latter firm to H.E. Bigelow. The Lokwell steering wheel which Bigelow installed on plaintiff's car is one of the wheels thus manufactured and sold by the defendant, and it is contended by the plaintiff that this wheel suddenly came off the steering post by reason of the negligent construction of the wheel, resulting in a misfit between the wheel and a disk or nut intended to hold it in place. The plaintiff contends that this defect was inherent in the device, and that the defendant, as manufacturer, is liable for the damage resulting from the defective device.
According to the testimony of the man who installed the wheel, it was held in place by a ring that threads on the body of the wheel, which ring was secured to the steering post, and the device then fastened with a small, soft, metal pin, which was driven in. The testimony of Mr. Bigelow, and of his employe, who installed the wheel, is to the effect that the work of installation was carefully done and was inspected, and that the wheel fitted tight.
The only question in this case is whether there *Page 81 
is some evidence tending to show that this wheel became detached from the steering post by reason of its negligent construction by the defendant. Some evidence tends to show that after the accident the threads on the screw of the wheel seemed to be battered or worn. The wheel was thereupon screwed onto the post, but could be lifted off without unscrewing. The small metal pin, which is designed to fasten the wheel to the post, has never been found, and the wheel itself has been lost and was not introduced in evidence. The evidence shows that notwithstanding the fact that the pin was not found after the accident, the car could be driven, and was driven, guided only by this wheel screwed to the post, but not fastened with the pin. We search the record in vain for evidence showing what caused this wheel to become detached from the steering post; nor is there any evidence in the record tending to show that the defendant had knowledge of any defect in the wheel, if there was such defect.
It is suggested by counsel for defendant that the pin may have come out weeks before the accident, and by reason thereof the wheel may have become unscrewed, and been detached by jarring as the car traveled over rough roads, and that this loosening of the wheel may have resulted in the battering and wearing of the thread of the screw, so as to permit the wheel to become detached; or, on the other hand, as suggested by counsel for the plaintiff, the wheel may have become detached by reason of there being a misfit between it and the disk.
One of these theories is perhaps as good as another, but it is certain that the evidence does not *Page 82 
raise a probability that the wheel came off by reason of an inherent defect in its construction. To say the least, it is just as likely, in the instant case, that the wheel became detached from some cause for which the defendant was not responsible, as it is that detachment resulted from a cause for which defendant was responsible. In some respects the case is similar to the case of Lampe v. White Motor Sales Co., decided by this court October 14, 1925, 20 Ohio App. 501, 152 N.E. 733.
Some testimony was offered tending to show that when the plaintiff purchased the wheel it was taken from the original carton in which it had been shipped by the manufacturer. This testimony was excluded, and we think improperly excluded, but its exclusion could not be prejudicial error, because with that testimony received the record would still fall far short of tending to show liability on the part of the defendant.
Finding no prejudicial error, the judgment will be affirmed.
Judgment affirmed.
WILLIAMS, J., concurs.
YOUNG, J., not participating. *Page 83 